
Pennington, J.
— The state of demand in this cause, delivered the justice, consists of an account current, [*] very awkwardly and confusedly stated. After considerable pains taken, I have been able to come at the real state of the case intended to be presented to the court below, as a state of demand.
It appears that the account of the plaintiff below, amounts to $459 52; and that he gives the defendant credit for $384 99, which leaves a balance according to this statement of $74 51 due to the plaintiff below. The justice tried the cause, and rendered judgment for S99 82; that is, $25 31 more than from the plaintiff’s own statement, appeared to be due him. This ivas evidently caused by an error in bringing together the various amounts of the numerous columns and items of the credits, scattered over two sheets of paper. There can be no reluctance to opening a door for the review of a judgment obtained exparte, on a pei’plexed account of about four hundred dollars of a side. I am, thei’efoi’e, of opinion, that judgment be reversed.
Kirkpatrick, C. J.
— It is manifest from the papers filed, that the justice had made a mistake in the calculation; and thereupon rendered judgment for the plaintiff for a considerable sum more than was his due.
Rossexx, J. — Concurred.
Judgment revex’sed.
